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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                     )
               Plaintiff,                     )
                                              )
v.                                            )       Case No. 21-cr-319-GKF
                                              )
JOHN JACOBS AHRENS                            )
              Defendant.                      )

                      MOTION FOR COMPETENCY EVALUATION



       Jill Webb, counsel for Defendant John Ahrens, request that this Court order a psychiatric

or psychological examination of Mr. Ahrens pursuant to 18 U.S.C. § 4241, and hold a hearing to

determine whether Defendant is competent to proceed in this matter. In support, Counsel state as

follows:

       1. Reasonable cause exists to believe that Mr. Ahrens is presently suffering from a mental

disease or defect rendering him mentally incompetent to the extent that he is unable to assist

properly in his defense.

       2. Specifically, Mr. Ahrens has made several statements in corresponding with counsel

that counsel believes are delusional. Most of these statements concern beliefs that Mr. Ahrens has

that he is working for, and in a continuous relationship with, law enforcement. He believes he has

worked as a tribal police officer and/or an agent for the FBI.

       3. Counsel has spoken with and had written correspondence with Mr. Ahrens throughout

the five months she has represented him. The nature of the charges themselves, that is, calling the

press to alert them that he has threatened President Biden, raised alarms with counsel about his

mental health. Since that time, counsel has had growing concerns which culminated in a letter to
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counsel dated November 19, 2021 which is filled with his fears and grandiose beliefs around the

FBI, Muscogee Nation, the British Empire, and street gangs.

       4. In order to find a defendant incompetent, this Court must find, by preponderance of the

evidence, that the defendant presently is suffering from a mental disease or defect rendering his

mentally incompetent to the extent that he is unable to understand the nature and consequences of

the proceeding against him or to assist properly in his defense. 18 U.S.C. § 4241(d).

       5. Counsel requests a psychiatric or psychological examination and report of Mr. Ahrens,

pursuant to 18 U.S.C. § 4241(b).

       6. After the report is filed, counsel requests a copy of the evaluation pursuant to 18 U.S.C.

§ 4247(c) and a hearing on the issue of competency pursuant to 18 U.S.C. § 4241(c).



       For these reasons, Counsel requests this Court order psychiatric or psychological

examination and report on Mr. Ahrens to hold a hearing to determine his mental competency to

proceed, and for such other relief as the Court deems proper.




                                             Respectfully submitted,

                                             Office of the Federal Public Defender
                                             Julia O’Connell, Federal Public Defender

                                             By:    s/ Jill Webb
                                             Jill Webb, OBA #21402
                                             First Assistant Federal Public Defender
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                                             Tulsa, Oklahoma 74103
                                             (918) 581-6917
                                             Counsel for Defendant




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 30rd day of November 2021, I emailed and a copy of the above,
motion to:

       Joel-lyn Alicia McCormick     joel-lyn.a.mccormick@usdoj.gov

                                            s/ Jill Webb
                                            Jill Webb




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